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                             UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF TEXAS

                                     McALLEN DIVISION

GLORIA G. VILLAREAL, INDIVIDUALLY                    §        CIVIL ACTION NO.: _______
AND A/N/F OF Y.V., A MINOR, AND                      §
GLORIA L. VILLAREAL, INDIVIDUALLY AND                §
A/N/F OF D.R., A MINOR                               §
                                                     §
V.                                                   § SECTION “___” - JUDGE: _________
                                                     §
MACY’S CORPORATE SERVICES, INC.,                     §
A/K/A MACY’S, AND                                    §
SCHINDLER ELEVATOR CORPORATION                       § DIV. ___ – MAG. JUDGE: _________


                                   NOTICE OF REMOVAL



       Schindler Elevator Corporation, sought to be made a defendant in this matter, who, on

reserving all rights and defenses, including, but not limited to, all defenses contained in Federal

Rule of Civil Procedure 12, respectfully represents that it desires to remove this matter to the

United States District Court for the Southern District of Texas, McAllen Division, and that

removal on the grounds of diversity of citizenship is proper for the reasons explained below:

                                                1.

       On December 3, 2018, a civil action entitled “Gloria G. Villareal et al. v. Macy’s

Corporate Services, Inc., et al.,” Cause No. CL-18-6846-D, was filed in the County Court at

Law No. 4 for the County of Hidalgo, State of Texas. Named defendants in the Original Petition

were Macy’s Corporate Services, Inc., a/k/a Macy’s (“Macy’s”), and Schindler Elevator

Corporation (“Schindler”). (Exhibit “A,” Original Petition)
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                                                    2.

         Plaintiffs are residents of the State of Texas.

                                                    3.

         Macy’s is an Ohio corporation with its principal place of business in Ohio. Macy’s has

not yet filed an appearance in the suit.

                                                    4.

         Schindler is a Delaware corporation with its principal place of business in New Jersey.

                                                    5.

         Plaintiffs’ Original Petition was served on Schindler through the Texas Secretary of State,

instead of Schindler’s agent for service of process, on December 21, 2018. (Exhibit “B,”

December 27, 2018, correspondence) Schindler’s agent for service of process was served with

the Original Petition on December 31, 2018. (Exhibit “C,” Service of Process Transmittal)

                                                    6.

         Thirty days have not expired since the receipt by Schindler, through service or otherwise,

of a copy of the initial filed pleadings setting forth the claim for relief upon which such action is

based.

                                                    7.

         The Petition seeks recovery of damages for personal injuries allegedly sustained by

Plaintiffs, Gloria G. Villareal, individually and a/n/f of Y.V., and Gloria L. Villareal, individually

and a/n/f of D.R., in an alleged escalator incident on December 6, 2016, at the Macy’s store

located at 2100 South 10th Street, McAllen, Texas. The nature of this alleged incident is more

fully stated in the Original Petition.




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                                                 8.

       Plaintiffs specifically allege that Gloria G. Villareal and the two minors lost their balance

and fell down the up escalator due to the escalator shaking and making a sudden jerking motion.

(Exhibit “A,” Original Petition, ¶IV)

                                                 9.

       As a result of the incident, Plaintiffs alleged in their Petition that Gloria G. Villareal and

the two minors sustained bodily injuries to their arms, legs, heads, and back. (Exhibit “A,”

Original Petition, ¶VIII, IX, XI) Furthermore, it is believed that Gloria G. Villareal suffered a

fractured leg in the incident.

                                                 10.

       Plaintiffs seek significant damages for physical injuries, including medical expenses,

physical pain, mental anguish, physical impairment, and disfigurement. Based on these

allegations as described by Plaintiffs, and while not admitting that Plaintiffs sustained any

injuries or damages in the alleged incident, it appears that the amount in controversy exceeds the

$75,000 jurisdictional amount of this Court, exclusive of interest and costs.

                                                 11.

       Schindler, therefore, avers that there exists diversity of citizenship between Plaintiffs and

Schindler; that the amount in controversy exceeds the sum of $75,000, exclusive of interest and

costs; and accordingly, that there is original jurisdiction over the subject matter of this action in

this Court, as provided in 28 U.S.C. §1332; and that said action may be removed by Schindler,

pursuant to the provisions of 28 U.S.C. §1441.




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                                               12.

       Filed herewith are copies of all processes, pleadings, and Orders served on Schindler, all

as required by 28 U.S.C. § 1446(a) (attached in globo as Exhibit “D”).

                                               13.

       Promptly upon filing this Notice of Removal, written notice thereof is being given to

Plaintiffs, and a copy of this Notice of Removal is being filed with the Clerk of the aforesaid

county court to effect the removal of this action as provided by law. (A copy of the Notice of

Filing of Notice of Removal is attached as Exhibit “E.”)

       WHEREFORE, Defendant, Schindler Elevator Corporation, prays that this Notice of

Removal be accepted as good and sufficient and the aforesaid civil action be removed from the

County Court at Law No. 4 for the County of Hidalgo, State of Texas, into this Court for trial and

determination as provided by law; that this Court may enter such orders and issue such process

as may be proper to bring before it copies of all records and proceedings in county court in said

civil action, and thereupon proceed with this civil action as if originally commenced in this

Court; and that all orders and decrees necessary or appropriate and in accordance with the law in

such cases be made and provided.




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THE AUBERT LAW FIRM


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                                CERTIFICATE OF SERVICE

       I certify that the foregoing Amended Notice of Removal was filed electronically with the

Clerk of Court using the CM/ECF system. Notice of this filing will be sent to the following

counsel, by operation of the Court’s electronic filing system, on this 22nd day of January 2019:

                                         Gorge M. Rubio, Esquire
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                                                     /s/ Christopher J. Aubert
                                                     CHRISTOPHER J. AUBERT




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